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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ELLIPTIC WORKS LLC,                                 :
                                                     :
                        Plaintiff,                   :
                                                     :
                v.                                   : Case No.
                                                     :
 FLUIDRA SA, FLUIDRA NORTH AMERICA                   : JURY TRIAL DEMANDED
 LLC, FLUIDRA USA LLC, ZODIAC POOL                   :
 SOLUTIONS NORTH AMERICA LLC,                        :
 ZODIAC POOL SYSTEMS LLC, and                        :
 ZODIAC POOL CARE EUROPE SAS,                        :
                                                     :
                        Defendants.                  :


                                         COMPLAINT

       Plaintiff Elliptic Works LLC (“Plaintiff” or “Elliptic”), by and through its attorneys,

hereby files this Complaint against Fluidra SA (“Fluidra Spain”), Fluidra North America LLC

(“Fluidra North America”), Fluidra USA LLC (“Fluidra USA”), Zodiac Pool Solutions North

America LLC (“Zodiac North America”), Zodiac Pool Systems LLC (“Zodiac USA”), and

Zodiac Pool Care Europe SAS (“Zodiac Europe”) (collectively “Defendants” or the “Fluidra

Companies”) for patent infringement, breach of contract, and misappropriation of trade secrets,

alleging as follows:

       1.      This action concerns Defendants’ theft of Elliptic’s intellectual property. Elliptic

invented a means to communicate through visual light signals with robots that operate while

submerged in swimming pools. Elliptic filed a patent application based on its technology, and

while prosecution of the application was pending, shared its concepts with some of the

Defendants under a non-disclosure agreement while exploring a potential collaboration. Instead

of collaborating, the Defendants pretended not to be interested, then filed a patent application of
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their own based on Elliptic’s methods, while using those methods to manufacture their own

version of the communication system, which they now sell for hundreds of millions of dollars in

revenue every year. Elliptic’s patent has issued, and it seeks to recover from Defendants for

misappropriating its trade secrets and infringing its patent.

       2.      In particular, Elliptic is suing for infringement of United States Patent No.

12,134,913 under the Patent Act, 35 U.S.C. § 271, based on the unauthorized commercial

manufacture, use, importation, offer for sale, and sale of the Polaris FREEDOM Plus cordless

robotic cleaner (the “FREEDOM Plus” or the “Accused Product”) in the United States by Fluidra

Spain, Fluidra North America, Fluidra USA, Zodiac North America, and Zodiac USA

(collectively, the “Infringement Defendants”).

       3.      Elliptic also seeks to recover for Defendant Zodiac USA’s breach of contract in

respect of a certain Mutual Nondisclosure Agreement executed by Elliptic and Zodiac USA, and

for Defendants Zodiac USA, Zodiac Europe, and Fluidra Spain’s (collectively, the “Trade Secret

Defendants”) misappropriation of Elliptic’s trade secrets in violations of the federal Defend

Trade Secrets Act and Delaware’s Uniform Trade Secret Act.

                                         JURISDICTION

       4.      This Court has original jurisdiction over the subject matter of this action under 28

U.S.C. §§ 1331 and 1338(a).

       5.      This Court has supplemental jurisdiction over the subject matter of counts II

(Breach of Contract) and IV (Violation of Delaware Uniform Trade Secrets Act) under 28 U.S.C.

§ 1367.

       6.      Personal jurisdiction over Defendants Fluidra North America, Fluidra USA,

Zodiac North America, and Zodiac USA is proper in this District because these are Delaware



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limited liability companies and therefore subject to the general jurisdiction of the courts of

Delaware.

          7.    Personal jurisdiction over Defendants Fluidra Spain and Zodiac Europe is proper

in this District under Federal Rule of Civil Procedure 4(k)(2) because at least one of Elliptic’s

claims against them arises under federal law, they are not subject to the jurisdiction of any state

court of general jurisdiction, and together with the other Fluidra Companies they market,

manufacture, import, and sell a wide variety of swimming pool systems and products throughout

the United States, including the Polaris FREEDOM Plus cordless robotic cleaner.

          8.    On information and belief, Fluidra Spain exercises sufficient control over Fluidra

North America, Fluidra USA, Zodiac North America, and Zodiac USA to establish an agency

relationship.

          9.    On information and belief, Fluidra Spain and Zodiac Europe design, manufacture,

distribute, market, sell, or influence another Fluidra Company’s design, manufacture,

distribution, marketing, or sales of products into the US.

          10.   Moreover, Zodiac Europe, as a wholly-owned subsidiary of Fluidra Spain, is the

assignee of well over 100 United States patents and patent applications, many of which cover

products that the Fluidra Companies market, manufacture, import, and sell throughout the United

States.

                                              VENUE

          11.   Venue is proper in this district under 28 U.S.C. §§ 1391(b), (c)(3), and 1400(a).

                                          THE PARTIES

          12.   Plaintiff Elliptic is a New York limited liability company with its principal place

of business at 54 Dundee Lane, Southampton, New York 11968.



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       13.     Elliptic was formed in 2015 to develop innovative technologies primarily for the

swimming pool and spa industry. Since its formation, Elliptic has been conducting research to

evaluate the potential of underwater visual light communication (“VLC”) for sensors, lights,

pumps, robots, and other submerged pool devices, to introduce the Internet-of-Things (“IoT”)

and cloud services to the pool industry.

       14.     Sean Walsh (“Walsh”) is a co-founder of Elliptic and a named inventor on certain

Elliptic patent applications.

       15.     John Bouvier (“Bouvier”) is a co-founder of Elliptic and a named inventor on

certain Elliptic patent applications.

       16.     Stefan Mangold (“Mangold”) is a partner in Elliptic, holds a Ph.D. in electrical

engineering, and has been a member of the Elliptic technical team since at least January 1, 2019.

       17.     Eric Eckstein (“Eckstein”) is a partner in Elliptic, holds a B.S. in electrical and

computer engineering, and has been a member of the Elliptic technical team since at least

January 1, 2019.

       18.     Defendant Fluidra Spain is a “multinational group listed on the Spanish Stock

Exchange” with “long-standing experience in developing innovative products and services in the

global residential and commercial pool market.” See https://www.fluidra.com/about-fluidra (last

visited February 1, 2025). Of relevance to the present dispute, Fluidra Spain seeks to innovate in

the areas of robotics and IoT as applied to pool connectivity and remote interaction with pool

systems. Id.

       19.     Defendant Fluidra North America is a Delaware limited liability company which

may be served through its registered agent Corporation Service Company, 251 Little Falls Drive,




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Wilmington, Delaware 19808. On information and belief, Fluidra North America is a wholly

owned subsidiary of Defendant Fluidra Spain.

       20.     Defendant Zodiac North America is a Delaware limited liability company which

may be served through its registered agent Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808. Zodiac North America is a wholly owned subsidiary of

Defendant Fluidra Spain. Exhibit 1 (Appendix 1 to 2023 Annual Financial Report of Fluidra), p.

57.

       21.     Defendant Fluidra USA is a Florida limited liability company which may be

served through its registered agent Corporation Service Company, 1201 Hays Street, Suite

#1110, Tallahassee, Florida 32301-3056. Fluidra USA is a wholly owned subsidiary of

Defendant Zodiac North America. Exhibit 1, p. 57.

       22.     Defendant Zodiac USA is a Delaware limited liability company which may be

served through its registered agent Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808. Zodiac USA is a wholly owned subsidiary of Defendant Zodiac

North America. Exhibit 1, p. 57.

       23.     Defendant Zodiac Europe is domiciled in Bron (France) and is engaged in the

distribution and sale of pool-related products and accessories. Zodiac Europe is a wholly owned

subsidiary of Defendant Fluidra Spain. Exhibit 1, p. 58.

       24.     Zodiac Europe is the assignee of U.S. Patent Application No. 17/395,584 (the

“‘584 Application”). Exhibit 2. On information and belief, Zodiac Europe has licensed rights

under the ‘584 Application to one or more of the other Fluidra Companies.




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                          ELLIPTIC’S TRADE SECRETS AND
                     THE RELATIONSHIP BETWEEN THE PARTIES

       25.     Elliptic’s research into underwater visual light communication and its applications

has resulted in the accumulation by Elliptic of a significant body of information with

independent economic value to Elliptic by virtue of not being generally known to other persons.

Elliptic has from its inception taken reasonable steps to secure and maintain the secrecy of its

confidential information and trade secrets, including the execution of confidentiality and

nondisclosure agreements by its members and agents, and in transactions with third parties where

confidential information is implicated. Elliptic has and continues to limit access to its

confidential and trade secret information by, among other reasonable means, maintaining its files

on computers and servers which require passwords or credentials to access them, such that only

Elliptic’s members and agents may do so.

       26.     Elliptic filed patent application PCT/US16/62602 (the “’602 Application”) on

November 17, 2016. The ‘602 Application names Sean Walsh and John Bouvier as inventors.

The claims of the ‘602 Application are drawn to a visual light communication system for a pool

system.

       27.     Elliptic first entered into discussions about forming a relationship to develop pool

system control technologies with representatives of Zodiac USA on or about July of 2016. Early

discussions were by telephone between Walsh (on behalf of Elliptic) and David Goldman of

Zodiac USA (“Goldman”).




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        28.     Elliptic and Zodiac USA entered into a Mutual Nondisclosure Agreement on

January 18, 2017 (the “NDA”). The fully executed NDA is attached hereto and incorporated by

reference. 1 Exhibit 3 (Elliptic/Zodiac USA NDA).

        29.     The NDA bars both the use and disclosure of the other Party’s Confidential

Information:

                3. Non-use and Non-disclosure. Each Party agrees not to use any
                Confidential Information of the other Party for any purpose except
                to (i) engage in discussions concerning the Business Opportunity;
                (ii) evaluate the Business Opportunity; and (iii) perform its services
                or meet its obligations to the other Party related to the Business
                Opportunity. Each Party agrees not to disclose any Confidential
                Information of the other Party …

Exhibit 3. The NDA further bars use or disclosure of Confidential Information for up to three

years after its receipt:

                10. Term. This Agreement will be valid for two (2) years from the
                Effective Date stated herein. The obligations of each receiving Party
                under this Agreement shall survive until such time as all
                Confidential Information of the other Party disclosed hereunder
                becomes publicly known and made generally available through no
                action or inaction of the receiving Party, but in no event more than
                three (3) years after the last disclosure of Confidential Information
                under this Agreement.

Id. The NDA is binding on the “Parties and their respective successors, heirs, legal

representatives and permitted assigns.” Id., Sec. 14.

        30.     Subsequent to the execution of the NDA, on or about April 26, 2017 Goldman

sent an email to Walsh confirming Zodiac USA’ interest in discussions with Elliptic.




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 At the time, Zodiac USA was organized in Delaware as Zodiac Pool Systems, Inc. Zodiac
USA converted to a Delaware LLC on or about September 30, 2017, prior to its merger with
Zodiac North America/Fluidra SA on July 2, 2018.
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       31.     On August 4, 2017, Walsh sent an email to Goldman attaching an agenda for a

proposed in-person meeting and demonstration of Elliptic’s developed technology. In response,

Goldman confirmed that he and Kevin McQueen, Zodiac USA’ Executive Vice President for

Global Innovation (“McQueen”), would attend, and would be open to discussing an engagement

with Elliptic under which Elliptic would perform basic innovation work in collaboration with

Zodiac USA.

       32.     Walsh and Eckstein created, and on or about August 28, 2017 finalized a

presentation including among other things a slide deck, containing confidential information

including Elliptic’s trade secrets relating to a light network that could transmit data from

transmitted light code compiled from sources not in direct alignment. They described a

communications network that could seamlessly transmit data in and out of a fluid environment,

wirelessly and without a requirement of point-to-point transmission. The presentation materials

were clearly labeled “Confidential Property of Elliptic Works LLC.” Exhibit 4 (Presentation

slide deck of Sept. 15, 2017) (filed separately UNDER SEAL).

       33.     The ‘602 Application, which names Walsh and Bouvier as inventors, was

developed and conceived using Elliptic’s same confidential and trade secret information, derived

from the research and innovation of Walsh and Bouvier.

       34.     On September 15, 2017, Goldman and McQueen met with Walsh and the Elliptic

team at Elliptic’s training facility in the J. Tortorella Service Department located at 296 West

Montauk Highway in Hampton Bays, New York.

       35.     At the September 15, 2017 meeting, Bouvier led a presentation to Goldman and

McQueen of the then-current state of Elliptic’s technology related to VLC networking and

discussed its potential application to a wide range of novel consumer and industrial products and



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devices. Walsh and Eckstein made a physical demonstration of Elliptic VLC technology. The

content of the presentation included the aforementioned slide deck and other disclosures of

Elliptic’s trade secrets, including use of VLC in robotic pool cleaners, which were delivered to

Goldman and McQueen subject to the NDA. Exhibit 4.

       36.     Goldman and McQueen departed the September 15, 2017 meeting with copies of

Elliptic’s confidential and trade secret material.

       37.     On October 12, 2017, Goldman emailed Walsh to relate that Zodiac USA could

not proceed with a relationship with Elliptic, because it lacked “the budget or capacity to chew

on anything else,” while leaving the possibility of a future relationship open.

       38.     On information and belief, sometime after the September 15, 2017 presentation

and prior to August 6, 2020, one (or more) of Goldman, McQueen, and Zodiac USA CEO Bruce

Brooks (“Brooks”) provided information and materials disclosed by Elliptic at the September 15,

2017 presentation to one or more individuals at Zodiac Europe and/or Fluidra Spain, in breach of

the NDA and in violation of U.S. federal and Delaware state trade secret protection laws.

       39.     On June 15, 2018, Elliptic filed U.S. Application No. 16/063,023 (the “’023

Application”), the national phase of the PCT ’602 Application.

       40.     On July 2, 2018, Zodiac USA merged with Zodiac North America, which itself

became a subsidiary of Fluidra Spain as part of a larger merger transaction between Fluidra

Spain and the Zodiac Group of companies.

       41.     On or about November 1, 2019, David Tapias, the R&D director of Fluidra Spain

(“Tapias”) contacted Walsh seeking to connect and inquire about Elliptic’s progress in its work

since Elliptic and Zodiac last communicated. On information and belief, Tapias’s outreach was

prompted by McQueen.



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       42.     Walsh replied to Tapias by email on December 5, 2019, providing a link to a

collection of short videos, and attaching an excerpt of Elliptic’s then-current business plan.

Tapias confirmed receipt of the videos and documents the same day. The videos showed control

of a small robotic cleaner using Elliptic’s prototype VLC system which transmitted commands

using light from a pool lighting fixture which Walsh held by hand, and demonstrated proof of

concept of VLC communication with and control of the robot in air, under water, and across the

air/water interface using a handheld device.

       43.     On January 16, 2020 Walsh emailed Tapias seeking to continue discussions about

“developing a working relationship with Elliptic Works and Fluidra.” On January 17, 2020

Tapias responded “We are interested, for sure!, and I'm working on that and I expect to give you

an answer with the next step during coming weeks. During next weeks we have our

technology team to discuss it.”

       44.     Walsh emailed Tapias to follow up on February 6, 2020, and Tapias replied on

February 12 with a proposal for another call, to include an expert from Fluidra Spain’s French

subsidiary Zodiac Europe, Mehdi Chafik (“Chafik”), with whom Tapias had already shared

Elliptic’s proof of concept videos.

       45.     On February 26, 2020 Walsh, along with Mangold and Eckstein, participated in a

call with Zodiac Europe representatives, including Chafik. During this call, Walsh, Mangold,

and Eckstein answered multiple questions from Chafik regarding the VLC network technology

that Walsh, Mangold, and Eckstein had developed in their work at Elliptic, and how that

technology could be implemented in the prototype robot that Zodiac Europe and Fluidra Spain

desired to construct. Zodiac Europe through Chafik also expressed interest on the call in

Elliptic’s intellectual property protection efforts and IP portfolio.



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        46.    On March 3, 2020, Chafik forwarded to Elliptic a set of specifications for a

desired prototype VLC-controlled robot.

        47.    On March 5, 2020, Eckstein sent Chafik an email with some technical questions

on Chafik’s proposed specifications, and additionally included statements addressed to Elliptic’s

proprietary technology:

               NDA: We need to update our NDA with you.

               EW ewVLC: As this project will use EW proprietary technology,
               and we both would like to get moving on this quickly for the
               deadline, would it be acceptable to stipulate in the Agreement that
               no commercial terms are transferred through the Agreement, and
               that should both parties desire a separate commercial agreement will
               be executed for those technologies?

        48.    Chafik responded on March 6, 2020 by annotating Eckstein’s email thusly:

               NDA: We need to update our NDA with you. -> Sure, if you have
               an NDA doc, Rémi can sign it quickly.

               EW ewVLC: As this project will use EW proprietary technology,
               and we both would like to get moving on this quickly for the
               deadline, would it be acceptable to stipulate in the Agreement that
               no commercial terms are transferred through the Agreement, and
               that should both parties desire a separate commercial agreement will
               be executed for those technologies? -> i would have to refer to
               Rémi and David on that but it seems completly [sic] normal.

        49.    On March 6, 2020, Walsh forwarded to Chafik a new nondisclosure agreement.

Exhibit 5 (March 6, 2020 NDA draft).

        50.    On March 9, 2020, Walsh forwarded to Chafik a Work Plan and corresponding

Agreement for production by Elliptic of a VLC-controlled robotic pool cleaner prototype.

Exhibit 6 (Work Plan V1 of March 9, 2020) (filed separately UNDER SEAL).

        51.    On March 11, 2020, Chafik confirmed receipt of the NDA, Agreement, and Work

Plan.



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       52.     On March 12, 2020, Tapias emailed Walsh that the emergent and developing

situation with the worldwide coronavirus pandemic was changing Fluidra Spain’s outlook: “from

now on we have to relax our expectations due to global situation and we are not in a position to

invest such amount of money to carry out the POC. Moreover, the problem with the Coronavirus

is affecting our calendar of events scheduled for this year, and for this reason we are not in such

a hurry.”

       53.     On March 26, 2020, Tapias emailed Walsh again:

               Here in Spain the situation (as weel as in Europe) is going worst and
               many companies will close during a period of time. In this scenario
               we are forced to slow down most of our non urgent activities. We
               hope that in a couple of months we can start to recover a normal
               speed. Let's postpone our conversations till end of may. Meanwhile,
               we could at least we could take a look on your patents related to your
               technology. Cld you please give us the available info to do it? [sic
               throughout]

       54.     On March 30, 2020, Walsh sent Tapias a copy of U.S. Publication 20180371778

and a copy of allowed patent claims for the ‘023 Application. Tapias did not respond, and

Elliptic received no further communications from any of the Fluidra Companies.

       55.     On August 6, 2020 Zodiac Europe filed U.S. Provisional Application No.

63/061,898 (the “’898 Provisional”). Exhibit 7 (U.S. Provisional Application No. 63/061,898).

The ‘898 Provisional discloses

               Devices, systems, and methods for wirelessly communicating
               underwater with equipment such as, but not necessarily limited to,
               automatic swimming pool cleaners (APCs) are detailed. Such
               communication avoids any need for conventional wired
               communication with the APCs. At least certain of the devices may
               be hand-held and capable of having at least portions immersed in
               water in normal use. The devices preferably do not use radio
               frequency (RF) signals to communicate with APCs, instead
               employing light-based or other signal types.

Id.

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       56.     On information and belief, at least part of the subject matter disclosed in the ‘898

Provisional, including but not limited to concepts for visual light-based underwater wireless

communication (or VLC) for control of pool systems and components, was taken from Elliptic’s

confidential information and trade secrets disclosed 1) to Goldman and McQueen at the

September 15, 2017 presentation by Elliptic, and 2) during the February 26, 2020 call with

Chafik, in breach of the NDA and in violation of U.S. federal and Delaware state trade secret

protection laws. On information and belief, at least part of the subject matter disclosed in the

‘898 provisional was conceived and reduced to practice by Walsh, Eckstein, and/or Mangold.

       57.     Zodiac Europe followed its filing of the ‘898 Provisional with the filing of

nonprovisional U.S. utility patent Application No. 17/395,584 (the “’584 Application”) one year

later, on August 6, 2021. On February 10, 2022, the ’584 Application was published as U.S.

Patent Publication No. 2022/0042335. Exhibit 2.

       58.     Independent Claim 12 of the ’584 Application as published recites

               A cleaning system for a swimming pool, the cleaning system
               comprising:
               an automatic swimming pool cleaner configured to operate in water
               within the swimming pool; and
               a control device comprising a housing, the housing comprising a
               communication region, wherein the control device is configured to
               operate and wirelessly communicate with the automatic swimming
               pool cleaner through at least one of air or water using light-based
               signals, and
               wherein the control device is a hand-held device.

Exhibit 2 (emphasis supplied).

       59.     On information and belief, at least part of the subject matter disclosed and

claimed in the ‘584 Application, including but not limited to the concepts for visual light-based

underwater wireless communication (or VLC) for control of pool systems and components

recited in at least Claims 4, 9, and 12-40, was taken from Elliptic’s confidential information and

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trade secrets disclosed to Goldman and McQueen at the September 15, 2017 presentation by

Elliptic, in breach of the NDA and in violation of U.S. federal and Delaware state trade secret

protection laws.

       60.     Walsh contributed extensively to the conceptualization of the VLC networking

technology contained in Elliptic’s trade secrets. Because at least part of the subject matter

disclosed and claimed in the ‘584 Application, including but not limited to the concepts for

visual light-based underwater wireless communication (or VLC) for control of pool systems and

components recited in at least Claims 1, 4, 9, and 12-40 2, was taken from Elliptic’s confidential

information and trade secrets disclosed to Goldman and McQueen at the September 15, 2017

presentation by Elliptic, a presentation that was a cooperative and collaborative exchange of

information between Elliptic and Zodiac USA, at least Walsh and Bouvier in fact contributed to

the conception of the invention described in at least Claims 1, 4, 9, and 12-40 of the ’584

Application.

       61.     Mangold and Eckstein have also both contributed extensively to the

conceptualization of the VLC networking technology contained in Elliptic’s trade secrets.

During the February 26, 2020 call with Zodiac Europe and Fluidra Spain representatives, Walsh,

Mangold, and Eckstein answered multiple questions from Chafik and his team regarding the

VLC network technology that Walsh, Mangold, and Eckstein had developed in their work at

Elliptic, and how that technology could be implemented in the prototype robot that Zodiac

Europe and Fluidra Spain desired to construct. The call was a cooperative and collaborative

exchange of information between Elliptic and Zodiac Europe in pursuit of a future collaborative




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 Claim numbers recited in paragraph 52 are the claims as published in U.S. Patent Publication
No. 2022/0042335, attached hereto as Exhibit 2.
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business relationship. Because at least part of the subject matter disclosed and claimed in the

‘584 Application, including but not limited to the concepts for visual light-based underwater

wireless communication (or VLC) for control of pool systems and components recited in at least

Claims 4, 9, and 12-40, was taken from Walsh, Mangold, and Eckstein’s teaching and

disclosures made to Zodiac Europe during the call, each of Walsh, Mangold, and Eckstein in

fact contributed to the conception of the invention described in at least Claims 4, 9, and 12-40 of

the ’584 Application.

                                     THE PATENT-IN-SUIT

       62.     The asserted patent is U.S. Patent No. 12,134,913 (the “‘913 Patent”), entitled

“System for visual light communications and related methods,” which was duly and legally

issued by the United States Patent and Trademark office on November 5, 2024, and names Sean

Walsh and John Bouvier as inventors. A copy of the ‘913 patent is attached hereto as Exhibit 8.

       63.     The ‘913 patent includes claims to systems to monitor and control the operation

of pool systems including pool components and devices, and in particular to such systems that

include a visual light communication system.

       64.     The ‘913 patent is valid and enforceable.

       65.     Elliptic is the owner of the entire right, title, and interest in the ‘913 patent.

       66.     Elliptic practices its technology and has the right to bring this action to recover

damages for any current or past infringement of the patents-in-suit. Elliptic has never granted to

any of the Fluidra Companies a license to practice the patent-in-suit.




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              DEFENDANT'S INFRINGING ACTIVITIES AND PRODUCTS

        67.    The Infringement Defendants have and continue to infringe the ‘913 Patent by

making, using, selling, offering for sale, and importing into the United States the Polaris

FREEDOM Plus in the United States.

        68.    The Infringement Defendants market the FREEDOM Plus through their Polaris

brand. See https://www.fluidra.com/brands/polaris.

        69.    On information and belief, the Infringement Defendants import the FREEDOM

Plus from their manufacturer in Malaysia. Exhibit 9 (FREEDOM Plus box label).

        70.    The FREEDOM Plus is a robotic, cordless robotic pool cleaner which operates

under water, and is controlled remotely by a handheld device which communicates with the

robotic cleaner using VLC (or “LiFi”). According to the Polaris website, the “FREEDOM Plus

comes with a hand-held remote that uses cutting-edge LiFi technology to communicate with the

cleaner underwater — giving you the power to start/stop, direct movement and easily remove the

cleaner by deploying the Easy Lift System with just one press of a button.” See

https://www.polarispool.com/en/products/pool-cleaners/robotic-pool-cleaners/polaris-freedom-

plus.

        71.    The FREEDOM Plus infringes the claims of the ‘913 Patent, including, but not

limited to, claims 1, 9, 16, and 24 of the ‘913 Patent, as it includes each and every element

required in claims 1, 9, 16, and 24, as set forth in detail in the infringement chart attached hereto,

the contents of which are incorporated herein by reference. Exhibit 10 (Infringement chart).

        72.    Defendant has been and is inducing infringement of the '913 Patent by actively

and knowingly inducing others to make, use, sell, offer for sale, or import the FREEDOM Plus.

The FREEDOM Plus is available on AMAZON.com. https://www.amazon.com/Polaris-



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FREEDOM-Plus-Cordless-Charging/dp/B0CWSB8MPF?ref_=ast_sto_dp&th=1 (last visited

February 7, 2025). The Fluidra and Polaris websites identify various dealers and distributors in

the United States, including the Wilmington Delaware vicinity, for the FREEDOM Plus. Exhibit

11 (Polaris Dealer listings near ZIP code 19801).

       73.     Leslie’s Poolmart in Delaware offers the FREEDOM Plus by both delivery and

ship-to-store. Exhibit 12 (Leslie’s Poolmart Delaware).

       74.      According to the Fluidra website, Swift Pools Inc. in Newark, Delaware offers a

“Try Me” program where customers can “test drive” the latest Polaris robotic pool cleaners.

Exhibit 13 (Swift Pools Inc. Delaware).

       75.     The Infringement Defendants have known of the existence of the '913 Patent, and

their acts of infringement have been willful and in disregard for the '913 Patent, without any

reasonable basis for believing that they had a right to engage in the infringing conduct.

       76.     Defendant Zodiac USA has been aware of the nature of Elliptic’s research and

development efforts, which underlie the '913 Patent, since at least the presentation of September

15, 2017. Moreover, Tapias of Fluidra Spain was provided a copy of U.S. Publication

20180371778 and a copy of allowed patent claims for the ‘023 Application, which shares the

same specification with the '913 Patent, on March 30, 2020.

       77.     On October 30, 2024, John Tortorella of Elliptic notified Tapias of Fluidra Spain

by email of the impending November 5, 2024 allowance of the ‘913 Patent. In his email,

Tortorella gave notice to Tapias of Fluidra’s infringement of multiple claims of the ‘913 Patent

by sale of the FREEDOM Plus robotic cleaning device and demanded Fluidra stop its infringing

activity. Tortorella further put Tapias on notice of “Fluidra’s unauthorized use and exploitation

of EW’s confidential information and trade secrets.”



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          78.    Fluidra Spain’s patent counsel responded to Tortorella on November 21, 2024,

seeking additional information and specifically requesting claim charts detailing Elliptic’s

infringement contentions.

          79.    On December 6, 2024, Elliptic responded, providing an analysis of the

infringement of the ‘913 Patent claims by the FREEDOM Plus, including the infringement chart

attached hereto as Exhibit 10. Despite having Elliptic’s claim chart, the Infringement

Defendants continued to willfully infringe the ‘913 Patent.

          80.    The Infringement Defendant's infringement has been, and continues to be

knowing, intentional, and willful.

          81.    The Infringement Defendant's acts of infringement of the ‘913 Patent have caused

and will continue to cause Elliptic damages for which Elliptic is entitled to compensation

pursuant to 35 U.S.C. § 284.

          82.    The Infringement Defendant's acts of infringement of the ‘913 Patent have caused

and will continue to cause Elliptic immediate and irreparable harm unless such infringing

activities are enjoined by this Court pursuant to 35 U.S.C. § 283. Elliptic has no adequate

remedy at law.

                         COUNT I – PATENT INFRINGEMENT
 (against Fluidra Spain, Fluidra North America, Fluidra USA, Zodiac North America, and
                                       Zodiac USA)

                                         Direct Infringement

          83.    Plaintiff repeats and realleges paragraphs 1 through 82 hereof, as if fully set forth

herein.

          84.    The Infringement Defendants have directly infringed and continue to directly

infringe under 35 U.S.C. § 271(a) one or more claims of the ‘913 patent either literally and/or



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under the doctrine of equivalents, by making, using, selling, offering for sale, and/or importing

into the United States the FREEDOM Plus robotic cleaner that infringes one or more claims of

the ‘913 patent.

        85.       The Infringement Defendants import into the United States the FREEDOM Plus

robotic cleaner pool devices manufactured in Malaysia. Exhibit 9.

        86.       Third parties, including the Infringement Defendants customers, have directly

infringed, and continue to directly infringe under 35 U.S.C. § 271(a), one or more claims of the

‘913 patent, either literally and/or under the doctrine of equivalents, by making, using, selling,

and/or offering for sale the FREEDOM Plus robotic cleaner in the United States that infringes

one or more claims of the ‘913 patent, as described in detail above.

        87.       The Infringement Defendants had prior knowledge and notice of the ‘913 patent

and its infringement through prior correspondence between John Tortorella of Elliptic and

Fluidra Spain, from counsel for Elliptic to Fluidra Spain, and through the filing of the Complaint

in this action.

        88.       Fluidra Spain through its prior correspondence with counsel for Elliptic, provided

no facts or basis why the FREEDOM Plus robotic cleaner avoids the claims of the ‘913 patent

and the Infringement Defendants continue to make, use, offer for sale, sell, and import into the

United States, the FREEDOM Plus robotic cleaner in the United States despite an objectively

high likelihood that these activities infringe one or more claims of the ‘913 patent.

                                        Induced Infringement

        89.       The Infringement Defendants have induced infringement and continue to induce

infringement under 35 U.S.C. § 271(b).




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        90.     The Infringement Defendants have directly infringed one or more claims of the

‘913 patent by making, using, offering for sale and selling the FREEDOM Plus robotic cleaner to

customers as described in detail in paragraphs 67 to 74, above.

        91.     The Infringement Defendants have actively, knowingly, and intentionally

induced, and continues to actively, knowingly, and intentionally, induce infringement of the ‘913

patent by selling or otherwise supplying the FREEDOM Plus robotic cleaner, with the

knowledge and intent that third parties will use, sell, and/or offer for sale in the United States, for

their intended purpose to infringe the ‘913 patent, and with the knowledge and intent to

encourage and facilitate infringement through the dissemination of the FREEDOM Plus robotic

cleaner.

        92.     Upon information and belief, the Infringement Defendants’ sales representatives

and distributors, over whom the Infringement Defendants exert control and direction, provide

assistance and instruction in connection with how to use the FREEDOM Plus robotic cleaner in

an infringing manner and with the intent that the FREEDOM Plus robotic cleaner operates so

that it infringes the ‘913 patent.

                                       Willful Infringement

        93.     The Fluidra Companies generally, and Zodiac USA specifically, have been aware

of Elliptic’s existence and research in the pool system control industry since at least January 18,

2017, when Elliptic and Zodiac USA entered the NDA.

        94.     On March 30, 2020, Walsh sent Tapias at Fluidra Spain a copy of U.S.

Publication 20180371778, which shares the same specification as the ‘913 Patent, and a copy of

allowed patent claims for the ‘023 Application.




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          95.    On October 30, 2024, John Tortorella of Elliptic notified Tapias of Fluidra Spain

by email of the impending November 5, 2024 allowance of the ‘913 Patent.

          96.    As described above in paragraph 79, at least by December 6, 2024, Fluidra Spain

was put on express notice that the making, using, offering for sale and selling of the FREEDOM

Plus robotic cleaner infringed certain claims of the ‘913 patent.

          97.    Having had prior knowledge of the ‘913 patent, the Infringement Defendants

knew or should have known that, without taking a license to the patents-in-suit, their actions

continue to infringe one or more claims of the ‘913 patent. Therefore, the Infringement

Defendants have willfully infringed the ‘913 patent and continue to do so.

          98.    Elliptic has been and continues to be damaged by Fluidra Spain’s infringement of

the ‘913 patent.

                             COUNT II – BREACH OF CONTRACT

                                        (against Zodiac USA)

          99.    Plaintiff repeats and realleges paragraphs 1 through 98 hereof, as if fully set forth

herein.

          100.   The NDA is a binding written contract between Elliptic and Zodiac USA. Exhibit

3.

          101.   Elliptic has performed all its obligations under the NDA.

          102.   Zodiac USA has breached its obligations under the NDA at least through its

disclosure during the term of the NDA to one or more third parties, including but not limited to

Defendants ZPEC and Fluidra Spain, of Elliptic’s confidential information related to VLC

networking and its potential novel applications and by filing patent applications related to VLC

networking.



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        103.     Elliptic has been damaged by Zodiac USA’s breach of the NDA and disclosure to

at least Fluidra Spain and Zodiac Europe of information that derives independent economic value

to Elliptic by virtue of not being generally known to other persons.

                COUNT III – DEFEND TRADE SECRETS ACT - 18 U.S.C. § 1836

                      (against Zodiac USA, Zodiac Europe, Fluidra Spain)

        104.     Plaintiff repeats and realleges paragraphs 1 through 103 hereof, as if fully set

forth herein.

        105.     By misappropriating Elliptic’s research into underwater visual light

communications and its applications, the Trade Secret Defendants have violated the Defend

Trade Secrets Act.

        106.     Defendant Zodiac USA has misappropriated Elliptic’s trade secrets by improper

disclosure in breach of the NDA. Zodiac Europe and Fluidra Spain have misappropriated

Elliptic’s trade secrets by improperly acquiring those trade secrets through ZPC’s breach of

contract, and improperly using those trade secrets in filing patent applications which do not

properly attribute inventorship to one or both of Walsh and Bouvier.

        107.     Elliptic has been damaged by the Trade Secret Defendants’ misappropriation of

Elliptic’s trade secrets.

 COUNT IV –DELAWARE UNIFORM TRADE SECRETS ACT - 6 Del. C. § 2001 et seq.

                      (against Zodiac USA, Zodiac Europe, Fluidra Spain)

        108.     Plaintiff repeats and realleges paragraphs 1 through 107 hereof, as if fully set

forth herein.




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           109.   By misappropriating Elliptic’s research into underwater visual light

communications and its applications, the Trade Secret Defendants have violated the Delaware

Uniform Trade Secrets Act.

           110.   Elliptic has been damaged by Defendants’ misappropriation of Elliptic’s trade

secrets.

                                      PRAYER FOR RELIEF

     WHEREFORE, Elliptic Works LLC prays for judgment against Defendants Fluidra Spain,

Fluidra North America, Fluidra USA, ZP Solutions, Zodiac USA, and Zodiac Europe, jointly and

severally as follows:

           A.     That Elliptic be awarded all damages adequate to compensate it for the

Infringement Defendants’ infringement of the patent-in-suit, such damages to be determined by a

jury with pre-judgment and post-judgment interest;

           B.     A judgment that the infringement was willful and that such damages be trebled

pursuant to 35 U.S.C. § 284;

           C.     An order preliminarily and permanently enjoining the Infringement Defendants and

their officers, agents, servants and employees, privies, and all persons in concert or participation

with them, from further infringement of the patent-in-suit;

           D.     An order requiring the Infringement Defendants to recall the Accused Product from

all third-party retailers and distributors, and to provide notice to all customers who have purchased

the infringing products that the product infringes Elliptic’s patent;

           E.     Zodiac USA is in breach of the Elliptic/Zodiac USA NDA;

           F.     That Fluidra Spain, Zodiac Europe, and Zodiac USA have violated the Defend

Trade Secrets Act;



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          G.   That Fluidra Spain, Zodiac Europe, and Zodiac USA have violated the Delaware

Uniform Trade Secrets Act;

          H.   That Elliptic be awarded all damages adequate to compensate it for ZP System’s

breach of contract and the misappropriation by the Trade Secret Defendants of Elliptic’s trade

secrets under DTSA and DUTSA, including actual damages, unjust enrichment, and/or an award

of reasonable royalties; and

          I.   That Elliptic be awarded such other and further relief as this Court deems just and

proper.

                                    DEMAND FOR JURY TRIAL

               Elliptic Works LLC hereby demands a trial by jury on all issues so triable.



Dated: February 10, 2025

                                             Respectfully submitted,

                                             OFFIT KURMAN P.A.


                                             By: /s/ Thomas H. Kramer
                                                 Thomas H. Kramer (DE # 6171)
                                                 222 Delaware Avenue
                                                 Ste. 1105
                                                 Wilmington, DE 19801
                                                 P: 302-351-0908
                                                 Email: tom.kramer@offitkurman.com


                                                 Attorneys for Plaintiff Elliptic Works LLC




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